                           Case 17-10671          Doc 78   Filed 12/05/17   Page 1 of 1

                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MARYLAND
                                          at Greenbelt
                                 In re:   Case No.: 17−10671 − TJC      Chapter: 13

Anthony R. Harris
Debtor

                                                      NOTICE


PLEASE TAKE NOTICE that a confirmation hearing will be held

                          at 6500 Cherrywood Lane, Courtroom 3−E, Greenbelt, MD 20770

                          on 2/6/18 at 02:00 PM

to consider and act upon the following:

37 − Third Amended Chapter 13 Plan Filed by Anthony R. Harris. (McGill, Richard)


NOTICE TO MOVING PARTY

A service list or certificate of service regarding parties noticed by the court may be obtained through CM/ECF
or PACER. If you believe that a party entitled to notice is not listed, please provide notice to that party
forthwith and file an appropriate certification with the Clerk's office.



Dated: 12/5/17
                                                           Mark A. Neal, Clerk of Court
                                                           by Deputy Clerk, Mark Rybczynski
                                                           410−962−4255


Form ntchrgmdb (rev. 12/2003)
